          Case 1:20-cv-02591-RDM Document 5 Filed 09/23/20 Page 1 of 7




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


WASHINGTON BLADE, et al.

                      Plaintiffs,

v.                                                      Civil Action No. 1:20-cv-02591-RDM

UNITED STATES DEPARTMENT OF LABOR

                      Defendant.




                     NOTICE OF FILING OF PROOFS OF SERVICE

       Plaintiffs respectfully submit the attached Affidavits of Mailing and attachments as proof

that service of process has been effected on Defendants United States Department of Labor, United

States Attorney’s Office for the District of Columbia, and the United States Attorney General in

the above-captioned matter.

Dated: 9/23/20                                          Respectfully submitted,

                                                         /s/ Katie Townsend
                                                         Katie Townsend
                                                         DC Bar No. 1026115
                                                         Reporters Committee for
                                                             Freedom of the Press
                                                         1156 15th St. NW, Suite 1020
                                                         Washington, DC 20005
                                                         (202) 795-9300
                                                         ktownsend@rcfp.org

                                                         Counsel for Plaintiffs




                                               1
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                                                                                                 CO 249
                                                                                                 Rev. 2/2010

              UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                       FOR THE DISTRICT OF COLUMBIA




 Washington Blade, et al.
____________________________________
      Plaintiff(s)
                                                                                       1:20-cv-02591
                                                                     Civil Action No. _______________
       vs.


 United States Department of Labor
____________________________________
       Defendant(s)


                                       AFFIDAVIT OF MAILING
           Gunita Singh
       I, _________________________________________, hereby state that:
               17
       On the __________        September
                         day of ________________________, 2020
                                                          _______,  I caused to be deposited in the
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:

          United States Department of Labor
          200 Constitution Ave., N.W.
          Washington, D.C. 20210



                                                                70200090000159188853
       I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
        21
on the __________            September
                     day of ________________________,      2020
                                                          _______.
       I declare under penalty of perjury that the foregoing is true and correct.



          September 23, 2020                                          /s/ Gunita Singh
       ________________________                              _________________________________
                   (Date)                                                    (Signature)
                 Case 1:20-cv-02591-RDM Document 5 Filed 09/23/20 Page 3 of 7


September 21, 2020

Dear Gunita Singh:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 0090 0001 5918 8853.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     September 21, 2020, 6:54 am
Location:                                               WASHINGTON, DC 20210
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 5.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:20-cv-02591-RDM Document 5 Filed 09/23/20 Page 4 of 7


                                                                                                 CO 249
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              UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                       FOR THE DISTRICT OF COLUMBIA




 Washington Blade, et al.
____________________________________
      Plaintiff(s)
                                                                                       1:20-cv-02591
                                                                     Civil Action No. _______________
       vs.


 United States Department of Labor
____________________________________
       Defendant(s)


                                       AFFIDAVIT OF MAILING
           Gunita Singh
       I, _________________________________________, hereby state that:
               17
       On the __________        September
                         day of ________________________, 2020
                                                          _______,  I caused to be deposited in the
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:

         United States Attorney General
         950 Pennsylvania Ave., N.W.
         Washington, D.C. 20530



                                                                70200090000159188839
       I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
        21
on the __________            September
                     day of ________________________,      2020
                                                          _______.
       I declare under penalty of perjury that the foregoing is true and correct.



          September 23, 2020                                          /s/ Gunita Singh
       ________________________                              _________________________________
                   (Date)                                                    (Signature)
                 Case 1:20-cv-02591-RDM Document 5 Filed 09/23/20 Page 5 of 7


September 22, 2020

Dear Gunita Singh:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 0090 0001 5918 8839.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     September 21, 2020, 4:44 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 5.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
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                                                                                                 Rev. 2/2010

              UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                       FOR THE DISTRICT OF COLUMBIA




 Washington Blade, et al.
____________________________________
      Plaintiff(s)
                                                                                       1:20-cv-02591
                                                                     Civil Action No. _______________
       vs.


 United States Department of Labor
____________________________________
       Defendant(s)


                                       AFFIDAVIT OF MAILING
           Gunita Singh
       I, _________________________________________, hereby state that:
               17
       On the __________        September
                         day of ________________________, 2020
                                                          _______,  I caused to be deposited in the
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:

        Civil Process Clerk
        U.S. Attorney's Office for the District of Columbia
        555 4th St., N.W.
        Washington, D.C. 20530


                                                                70200090000159188860
       I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
        21
on the __________            September
                     day of ________________________,      2020
                                                          _______.
       I declare under penalty of perjury that the foregoing is true and correct.



          September 23, 2020                                           /s/ Gunita Singh
       ________________________                               _________________________________
                   (Date)                                                    (Signature)
                 Case 1:20-cv-02591-RDM Document 5 Filed 09/23/20 Page 7 of 7


September 22, 2020

Dear Gunita Singh:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 0090 0001 5918 8860.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     September 21, 2020, 4:44 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 5.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
